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                      CHAD BIANCO, in his Official Capacity
                    8 as the Riverside County Sheriff
                    9
                                                    UNITED STATES DISTRICT COURT
                   10
                                                CENTRAL DISTRICT OF CALIFORNIA
                   11
                   12
                        DAVID PHILLIP VALLEJOS,                         Case No. 5:25-CV-00350-SPG-E
                   13                                                   [Hon. Sherilyn Peace Garnett, Dist.
                                       Plaintiff,                       Judge; Hon. Charles F. Eick, M. Judge]
                   14
                                 vs.
                   15                                                   DEFENDANT SHERIFF CHAD
                      ROB BONTA, in his Official Capacity               BIANCO’S EX PARTE
                   16 as the Attorney General of the State of           APPLICATION TO CONTINUE
                      California, and CHAD BIANCO, in his               HEARING ON PLAINTIFF’S
                   17 Official Capacity as the Riverside                MOTION FOR PRELIMINARY
                      County Sheriff,                                   INJUNCTION FROM APRIL 2, 2025
                   18                                                   TO APRIL 30, 2025 AND RELATED
                                   Defendants.                          DEADLINES DUE TO LACK OF
                   19                                                   NOTICE
                   20
                                                                        Filed Concurrently with Declaration of
                   21                                                   Abigail J.R. McLaughlin; [Proposed]
                                                                        Order
                   22
                                                                        Action Filed: February 7, 2025
                   23
                   24 TO THE HON. COURT, PLAINTIFFS, AND COUNSEL OF RECORD:
                   25            Defendant CHAD BIANCO, in his Official Capacity as the Riverside County
                   26 Sheriff (“Sheriff Bianco”) respectfully requests that this Court continue the hearing
                   27 on Plaintiff’s Motion for Preliminary Injunction and related deadlines by a period of

LEWIS              28 approximately four (4) weeks so that Sheriff Bianco may prepare an appropriate
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                    1 Opposition to Plaintiff’s Motion for Preliminary Injunction (“Motion”) that
                    2 appropriately addresses all issues within such Motion.
                    3            Of note, this Ex Parte Application is Sheriff Bianco’s first appearance in this
                    4 matter1, and, thus, Sheriff Bianco was not receiving any notifications regarding the
                    5 docket in this matter, including the Court’s March 3, 2025 Scheduling Notice and
                    6 Order setting the hearing on the Motion on April 2, 2025 with a deadline for
                    7 defendants’ opposition on March 12, 2025 and Plaintiff’s reply, if any, on March 19,
                    8 2025. [McLaughlin Decl. at ¶¶6-7; see also Dkt. 17.]
                    9            Rather, on March 11, 2025, Sheriff Bianco’s counsel checked the docket in this
                   10 matter to determine what had occurred in the subject litigation thus far and discovered
                   11 the Court’s March 3, 2025 Scheduling Notice and Order requiring an Opposition to
                   12 the Motion by the next day, March 12, 2025. [McLaughlin Decl. at ¶8.] As Sheriff
                   13 Bianco’s counsel has not had the opportunity to review the relevant documents in this
                   14 matter in order to prepare an appropriate Opposition to Plaintiff’s Motion for
                   15 Judgment, especially within an approximately twenty-four (24) hour timeframe,
                   16 Sheriff Bianco’s counsel immediately contacted Plaintiff (acting pro so) via telephone
                   17 regarding an agreement to extension of time. [Id. at ¶2.] Plaintiff stated on this call
                   18 that he would not agree to any kind of extension and confirmed the same via e-mail.
                   19 [Id., ¶¶2-3, Exh. A.]
                   20            Thus, pursuant to United States District Court, Central District of California
                   21 Local Rules 7-12, 7-13, 7-19, and 7-19.1 as well as the applicable Orders of this Court,
                   22 Sheriff Bianco hereby moves, ex parte for an entry of an Order of the Court as follows:
                   23            (1)   Continuing the hearing on Plaintiff’s Motion for Preliminary Injunction
                   24                  from April 2, 2025 to April 30, 2025;
                   25            (2)   Continuing the deadline for defendants’ opposition to Plaintiff’s Motion
                   26                  for Preliminary Injunction to April 9, 2025; and
                   27
                        1
                   28            Sheriff Bianco is also filing concurrently his Answer to Plaintiff’s Complaint.
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                    1            (3)   Continue the deadline for Plaintiff’s reply, if any, in support of Plaintiff’s
                    2                  Motion for Preliminary Injunction to April 16, 2025.
                    3            Sheriff Bianco’s ex parte application is based on the following grounds:
                    4            1.    On or about February 14, 2025, an authorized individual at the County
                    5 of Riverside was served via substitute service on behalf of Sheriff Bianco with
                    6 Plaintiff’s Complaint and Plaintiff’s Motion for Preliminary Injunction, which lacked
                    7 a hearing date, in this matter. [Dkt. 16.]
                    8            2.    However, due to County of Riverside procedures, the Riverside County
                    9 Sheriff’s Professional Standards Bureau did not receive the Complaint and Plaintiff’s
                   10 Motion until February 25, 2025. [McLaughlin Decl., ¶4, Exh. B.]
                   11            3.    On or about March 3, 2025, Sheriff Bianco officially retained LEWIS
                   12 BRISBOIS BISGAARD & SMITH LLP as his counsel regarding this matter. [Id. at
                   13 ¶5.]
                   14            4.    As of the date of this Ex Parte Application, Sheriff Bianco (and, of note,
                   15 Defendant Rob Bonta, in his Official Capacity as Attorney General of the State of
                   16 California) has not made an appearance in this matter. Rather, his first appearance in
                   17 this matter is the timely filing of his Answer [see Dkt. 16 (noting Answer due March
                   18 11, 2025)] on this same date: March 11, 2025. [McLaughlin Decl., ¶6.] Thus, at no
                   19 point prior to March 11, 2025 was Sheriff Bianco receiving notifications about
                   20 this matter. [Id.]
                   21            5.    Accordingly, on March 3, 2025, when this Court issued its Scheduling
                   22 Notice and Order regarding Plaintiff’s Motion, setting it for hearing on April 2, 2025
                   23 and, pursuant to Local Rules 7-9 and 7-10, scheduling defendants’ Opposition to be
                   24 due on March 12, 2025 and Plaintiff’s Reply, if any, to be due on March 19, 2025,
                   25 Sheriff Bianco was not notified. [Id. at ¶7; Dkt. 17.]
                   26            6.    Rather, on March 11, 2025, when Sheriff Bianco’s counsel was checking
                   27 the docket to ensure Sheriff Bianco’s Answer would be timely filed, Sheriff Bianco’s

LEWIS              28 counsel discovered for the first time that defendants’ Opposition to Plaintiff’s
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                    1 Motion was due on March 12, 2025 – approximately twenty-four (24) hours later.
                    2 [McLaughlin Decl., ¶8.]
                    3            7.    As such was not enough notice for Sheriff Bianco to prepare an
                    4 appropriate Opposition, especially as his counsel is still gathering information on this
                    5 matter, Sheriff Bianco’s counsel immediately contacted Plaintiff via telephone to
                    6 advise Plaintiff of the lack of notice and request that Plaintiff agree to an extension as
                    7 to defendants’ Opposition deadline. [Id., ¶2.] Plaintiff would not agree to an
                    8 extension. [Id.] Accordingly, Sheriff Bianco’s counsel sent a follow-up e-mail
                    9 confirming that Sheriff Bianco would be filing this Ex Parte Application and Plaintiff
                   10 would be opposing the same. [Id., ¶3, Exh. A.] Plaintiff confirmed his opposition to
                   11 this Ex Parte Application in writing.
                   12            8.    Sheriff Bianco has been diligently preparing his Answer and defense in
                   13 this matter. However, the extent of Plaintiff’s claims are both broad and unique, as
                   14 Plaintiff seeking a preliminary injunction which orders not only the County of
                   15 Riverside, but the entire State of California, to end its Concealed Carry Weapon
                   16 (“CCW”) licensure process based on a violation of Plaintiff’s Second Amended
                   17 rights. [See generally Dkt. 1, 7.] Thus, as here, where Sheriff Bianco was not given
                   18 adequate notice of the briefing schedule and hearing date on Plaintiff’s Motion,
                   19 Sheriff Bianco will suffer undue prejudice if the defendants’ Opposition deadline
                   20 remains March 11, 2025.
                   21            9.    A short, four (4) week continuance would allow for Sheriff Bianco to
                   22 prepare and file an Opposition to Plaintiff’s Motion. Such short continuance will not
                   23 prejudice Plaintiff, as Plaintiff initiated this action approximately one month ago, on
                   24 February 7, 2025, and there is good cause for Plaintiff’s Motion and Sheriff Bianco’s
                   25 Opposition to be heard on their merits.
                   26            10.   Sheriff Bianco’s ex parte application is based on this notice, the attached
                   27 memorandum of points and authorities, and declaration of Abigail J.R. McLaughlin

LEWIS              28 and any exhibits thereto; and all pleadings, papers, and records in this action.
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                    1            NOTICE OF CONFERENCE OF COUNSEL PER LOCAL RULE: As
                    2 discussed above, on March 11, 2025, Sheriff Bianco’s counsel spoke with Plaintiff
                    3 regarding Sheriff Bianco’s request for extension and Plaintiff stated he would not
                    4 agree to such extension. [McLaughlin Decl., ¶2.] Sheriff Bianco’s counsel then
                    5 followed up with a confirming e-mail regarding this Ex Parte Application and
                    6 Plaintiff’s opposition to the same. [Id., ¶3, Exh. A.] Plaintiff then confirmed in
                    7 writing he will be opposing this Ex Parte Application. [See Exh. A.]
                    8            OPPOSING PARTY’S INFORMATION (PRO SE): The following
                    9 information is provided pursuant to C.D. Cal. L.R. 7-19.
                   10            Plaintiff is appearing pro se in this matter and his contact information is as
                   11 follows:
                   12 David Phillip Vallejos
                      4994 Shadydale Lane
                   13 Corona, CA 92878
                      Tel: (714) 609-9982
                   14 soundinstaller441@gmail.com
                   15
                        DATED: February 6, 2025               LEWIS BRISBOIS BISGAARD & SMITH LLP
                   16
                   17
                                                              By:          /s/ Abigail J.R. McLaughlin
                   18                                                   TONY M. SAIN
                   19                                                   ABIGAIL J. R. McLAUGHLIN
                                                                    Attorneys for Defendant,
                   20
                                                                    CHAD BIANCO, in his Official Capacity
                   21                                               as the Riverside County Sheriff
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                    1                   MEMORANDUM OF POINTS AND AUTHORITIES
                    2 1.         INTRODUCTION & SUMMARY OF THE ARGUMENT.
                    3            Defendant CHAD BIANCO, in his Official Capacity as the Riverside County
                    4 Sheriff (“Sheriff Bianco”) respectfully requests that this Court continue the hearing
                    5 on Plaintiff’s Motion for Preliminary Injunction (“Motion”) and related deadlines by
                    6 a period of approximately four (4) weeks so that Sheriff Bianco may prepare an
                    7 appropriate Opposition to Plaintiff’s because there is good cause for such
                    8 continuance.
                    9            First, Sheriff Bianco is unable to file an Opposition by the current March 12,
                   10 2025 despite his diligence, because Sheriff Bianco was not notified regarding the
                   11 deadline for his Opposition to Plaintiff’s Motion until March 11, 2025. Specifically,
                   12 Sheriff Bianco had not made his appearance in this matter until the timely filing of
                   13 his Answer on March 11, 2025 and this concurrently filed Ex Parte Application.
                   14 Twenty-four (24) hours notice of an Opposition deadline is not enough where
                   15 Plaintiff’s Motion is requesting that this Court issue a preliminary injunction which
                   16 orders the State of California (and County of Riverside) to “cease” with its Concealed
                   17 Carry Weapon (“CCW”) licensure program and adopt permitless carry.
                   18            Second, absent the requested relief, Sheriff Bianco will suffer irreparable
                   19 prejudice. Specifically, if Plaintiff’s Motion is granted, then the California CCW
                   20 licensure program will cease and permitless carry will be allowed throughout the State
                   21 of California, which would result in not only public confusion, but also may cause
                   22 risk to other individuals’ safety. Thus, it is appropriate and necessary for Sheriff
                   23 Bianco to have the opportunity to fully Oppose Plaintiff’s Motion and for the Court
                   24 to consider all arguments – for and against – Plaintiff’s request for preliminary
                   25 injunction.
                   26            Third, Plaintiff will not be prejudiced by such continuance because Plaintiff’s
                   27 lawsuit has been pending approximately one (1) month and Sheriff Bianco is

LEWIS              28 requesting an appropriate, limited four (4) week continuance.
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                    1 2.      RELEVANT PROCEDURAL & FACTUAL HISTORY.
                    2         On or about February 14, 2025, an authorized individual at the County of
                    3 Riverside was served via substitute service on behalf of Sheriff Bianco with Plaintiff’s
                    4 Complaint and Plaintiff’s Motion for Preliminary Injunction, which lacked a hearing
                    5 date, in this matter. [Dkt. 16.]
                    6         However, due to County of Riverside procedures, the Riverside County
                    7 Sheriff’s Professional Standards Bureau did not receive the Complaint and Plaintiff’s
                    8 Motion until February 25, 2025. [McLaughlin Decl., ¶4, Exh. B.]
                    9         On or about March 3, 2025, Sheriff Bianco officially retained LEWIS
                   10 BRISBOIS BISGAARD & SMITH LLP as his counsel regarding this matter.
                   11 [McLaughlin Decl., ¶5.]
                   12         As of the date of this Ex Parte Application, Sheriff Bianco (and, of note,
                   13 Defendant Rob Bonta, in his Official Capacity as Attorney General of the State of
                   14 California) has not made an appearance in this matter. Rather, his first appearance in
                   15 this matter is the timely filing of his Answer [see Dkt. 16 (noting Answer due March
                   16 11, 2025)] on this same date: March 11, 2025. [McLaughlin Decl., ¶6.] Thus, at no
                   17 point was Sheriff Bianco receiving notifications about this matter. [Id.]
                   18         Accordingly, on March 3, 2025, when this Court issued its Scheduling Notice
                   19 and Order regarding Plaintiff’s Motion, setting it for hearing on April 2, 2025 and,
                   20 pursuant to Local Rules 7-9 and 7-10, scheduling defendants’ Opposition to be due
                   21 on March 12, 2025 and Plaintiff’s Reply, if any, to be due on March 19, 20252, Sheriff
                   22 Bianco was not notified. [Id., ¶7; Dkt. 17.]
                   23
                        2
                   24            Of note, on February 13, 2025, the Clerk filed a Notice of Clerical Error, which
                        stated that this matter “falls under General Order 05-07, referral to a Magistrate for a
                   25   report and recommendation. Therefore, the case has been randomly reassigned to
                   26   Judge Sherilyn Peace Garnett and referred to Magistrate Judge Charles F. Eick to
                        consider preliminary matters and conduct all further matters as appropriate.” [Dkt.
                   27   11.] Thus, under Sheriff Bianco’s understanding of General Order 05-07, Judge Eick
                   28   was to handle all preliminary matters and conduct all further matters, including
LEWIS                   (footnote continued)
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                    1            Rather, on March 11, 2025, at approximately 3:46 p.m., when Sheriff Bianco’s
                    2 counsel was checking the docket to ensure Sheriff Bianco’s Answer would be timely
                    3 filed, Sheriff Bianco’s counsel discovered for the first time that defendants’
                    4 Opposition to Plaintiff’s Motion was due on March 12, 2025 – approximately
                    5 twenty-four (24) hours later. [McLaughlin Decl., ¶8.]
                    6            As such was not enough notice for Sheriff Bianco to prepare an appropriate
                    7 Opposition, especially as his counsel is still gathering information on this matter,
                    8 Sheriff Bianco’s counsel immediately contacted Plaintiff via telephone to advise
                    9 Plaintiff of the lack of notice and request that Plaintiff agree to an extension as to
                   10 defendants’ Opposition deadline. [Id., ¶2.] Plaintiff would not agree to an extension.
                   11 [Id.] Accordingly, Sheriff Bianco’s counsel sent a follow-up e-mail confirming that
                   12 Sheriff Bianco would be filing this Ex Parte Application and Plaintiff would be
                   13 opposing the same. [Id., ¶3, Exh. A.] Plaintiff confirmed his opposition to this Ex
                   14 Parte Application in writing.
                   15            Sheriff Bianco has been diligently preparing his Answer and defense in this
                   16 matter. However, the extent of Plaintiff’s claims are both broad and unique, as
                   17 Plaintiff seeking a preliminary injunction which orders not only the County of
                   18 Riverside, but the entire State of California, to end its Concealed Carry Weapon
                   19 (“CCW”) licensure process based on a violation of Plaintiff’s Second Amended
                   20 rights. [See generally Dkt. 1, 7.] Thus, as here, where Sheriff Bianco was not given
                   21 adequate notice of the briefing schedule and hearing date on Plaintiff’s Motion,
                   22 Sheriff Bianco will suffer undue prejudice if the defendants’ Opposition deadline
                   23 remains March 11, 2025 and, thus, respectfully requests an approximately four (4)
                   24 week continuance of the Motion hearing date and related deadlines.
                   25
                   26
                      reviewing Plaintiff’s Complaint for any deficiencies and handling Plaintiff’s Motion.
                   27 See 28 U.S.C. § 636. Thus, Judge Garnett’s setting of the Motion hearing and related

LEWIS              28 briefing scheduled may have been in error. [See Dkt. 17.]
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                     1 3.         THERE IS GOOD CAUSE FOR THIS COURT TO GRANT THE EX
                     2            PARTE RELIEF REQUESTED BY DEFENDANT.
                     3            Relief on an ex parte basis is warranted in this matter because a regularly
                     4 noticed motion for the requested relief cannot be heard before the deadline sought to
                     5 be extended. See Mission Power Eng'g Co. v. Cont'l Cas. Co., 883 F. Supp. 488, 492
                     6 (C.D. Cal. 1995). Specifically, the deadline for defendants’ Opposition to Plaintiff’s
                     7 Motion is March 12, 2025 and Sheriff Bianco did not have notice of such deadline
                     8 until March 11, 2025, at which time he immediately started preparing this Ex Parte
                     9 Application to request the necessary relief. [See Dkt. 17.]
                    10            “[D]istrict judges have broad discretion ... to control the course of litigation
                    11 under Federal Rule of Civil Procedure 16.” Avila v. Willits Env't Remediation Tr.,
                    12 633 F.3d 828, 833 (9th Cir. 2011). In general, a schedule can only be modified “upon
                    13 a showing of good cause.” Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th
                    14 Cir. 2002) (quoting Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 608 (9th
                    15 Cir. 1992)); accord Fed. R. Civ. P. 16(b)(4).
                    16            “The pretrial schedule may be modified ‘if it cannot reasonably be met despite
                    17 the diligence of the party seeking the extension,’ ” but “[i]f the party seeking the
                    18 modification ‘was not diligent, the inquiry should end’ and the motion to modify
                    19 should not be granted.” Zivkovic, 302 F.3d at 1087 (quoting Johnson, 975 F.2d at
                    20 609). “Although the existence or degree of prejudice to the party opposing the
                    21 modification might supply additional reasons to deny a motion, the focus of the
                    22 inquiry is upon the moving party's reasons for seeking modification.” Johnson, 975
                    23 F.2d at 609 (emphasis added).
                    24            A.    Ex Parte Relief is Warranted Because Sheriff Bianco is Unable to
                    25                  Meet the Current Opposition Deadline Despite Diligence.
                    26            As discussed above, Sheriff Bianco has acted diligently regarding this matter.
                    27 After service of the Complaint, Sheriff Bianco worked to retain counsel, who were

LEWIS               28 officially retained on or about March 3, 2025. Sheriff Bianco then worked diligently
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                     1 to ensure timely filing of his Answer to Plaintiff’s Complaint in this matter, which is
                     2 Sheriff Bianco’s first appearance in this matter and, therefore, Sheriff Bianco was not
                     3 receiving any notifications regarding this litigation, including the Court’s Scheduling
                     4 Notice and Order regarding Plaintiff’s Motion in this matter. Thus, Sheriff Bianco
                     5 was not on notice until March 11, 2025 regarding the March 12, 2025 deadline for
                     6 filing an Opposition to Plaintiff’s Motion.3
                     7            Upon discovering the Court’s Scheduling Notice and Order, Sheriff Bianco
                     8 worked diligently to resolve the issue: immediately contacting Plaintiff to see if an
                     9 agreement could be reached. Unfortunately, because Plaintiff was not willing to agree
                    10 to a continuance of the hearing on Plaintiff’s Motion or the deadline for any
                    11 Opposition thereto, Sheriff Bianco then immediately began preparing the subject Ex
                    12 Parte Application.
                    13            Courts have found an extension of time to oppose a motion for preliminary
                    14 injunction to be appropriate to ensure such is resolved on the merits. See, e.g., Sliding
                    15 Door Co. v. Glass Door Co., Inc., 2023 WL 5667536, at *1 (C.D. Cal. May 19, 2023)
                    16 (granting ex parte application for extension to respond to motion for preliminary
                    17 injunction); Monster Energy Co. v. Vital Pharms., Inc., 2019 U.S. Dist. LEXIS
                    18 234512, at *4 (C.D. Cal. Apr. 18, 2019) (finding good cause to grant five-week
                    19 continuance of preliminary injunction hearing to provide Defendants with sufficient
                    20 time to prepare an adequate opposition).
                    21            Twenty-four (24) hours notice is not enough time to Oppose Plaintiff’s Motion,
                    22 especially where Plaintiff is requesting that this Court enter a preliminary injunction
                    23
                    24   3
                                While Sheriff Bianco’s counsel checked the docket upon receipt of the
                    25   Complaint and undated Motion, such was prior to the Court’s Scheduling Notice and
                    26   Order. [McLaughlin Decl., ¶9.] Moreover, due to the Clerk’s Notice of Clerical
                         Error, it was Sheriff Bianco’s counsel understanding Judge Eick was to handle all
                    27   preliminary matters and conduct all further matters, including first reviewing
                    28   Plaintiff’s Complaint for any deficiencies due to Plaintiff’s pro se status. [Id.]
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                     1 which orders the State of California (and County of Riverside) to “cease” with its
                     2 CCW licensure program “and adopt permitless carry.” [Dkt. 7 at p. 24.] Moreover,
                     3 Plaintiff asks the Court to advance trial on the merits in this matter and consolidate it
                     4 with the Motion hearing. [Id. at pp. 23-24.] Thus, Sheriff Bianco is unable to address
                     5 Plaintiff’s overarching request that an entire administrative licensure program cease
                     6 and participate in a trial on the merits in this matter fully when only provided twenty-
                     7 four (24) hours notice of his deadline for an Opposition to the Motion. Due to the
                     8 extent of the Motion, Sheriff Bianco needs additional time to analyze Plaintiff’s
                     9 allegations and respond appropriately thereto and this Court should grant Sheriff
                    10 Bianco’s reasonable request for a four (4) week continuance of the hearing and the
                    11 associated briefing deadlines.
                    12            B.    Absent Ex Parte Relief, Sheriff Bianco Will Suffer Irreparable
                    13                  Prejudice.
                    14            Additionally, absent emergency relief, Sheriff Bianco will suffer irreparable
                    15 prejudice, because he will be unable to oppose Plaintiff’s overarching Motion, which
                    16 will in turn effect more than just Plaintiff, but individuals throughout the State of
                    17 California.
                    18            Specifically, based on Sheriff Bianco’s initial analysis of Plaintiff’s allegations
                    19 and Motion, Plaintiff is actually asking for a mandatory injunction because he is
                    20 asking the Court to issue an Order requiring Defendants to act as the non-moving
                    21 parties. J.L. Boyd v. Luna, 2024 WL 4799125, at *2 (“Where as here, the movant
                    22 seeks not to maintain the status quo pending a determination of the action on the
                    23 merits, but instead an order requiring the nonmoving party to act, the movant seeks a
                    24 mandatory injunction.”) (internal citations omitted). Such injunctions “go[] well
                    25 beyond simply maintaining the status quo” and are accordingly “particularly
                    26 disfavored.” Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015). In the Ninth
                    27 Circuit, mandatory preliminary injunctions are subject to “heightened scrutiny and

LEWIS               28 should not be issued unless the facts and law clearly favor the moving party.” Dahl
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ATTORNEYS AT LAW         DEFT. SHERIFF BIANCO’S EX PARTE APP. TO CONT. HRG. ON PLTF.’S MTN. FOR PRELIM. INJUNCTION
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                     1 v. HEM Corp., 7 F.3d 1399, 1403 (9th Cir. 1993). A plaintiff must show that “extreme
                     2 or very serious damage” will occur unless the Court grants their requested injunction
                     3 Id. (citation omitted). “In plain terms, mandatory injunctions should not issue in
                     4 doubtful cases.” Garcia, 786 F.3d at 740 (internal quotation marks and citation
                     5 omitted). Here, not only does it appear that Plaintiff will not endure extreme or very
                     6 serious damage without the requested injunction, but also such injunction does not
                     7 appear to be in the public interest. See Winter v. Ntural Res. Def. Council, 555 U.S.
                     8 7, 24 (2008). If Plaintiff’s Motion is granted, then the California CCW licensure
                     9 program will cease and permitless carry will be allowed throughout the State of
                    10 California, which would result in not only public confusion, but also may cause risk
                    11 to other individuals’ safety.
                    12            Accordingly, due to the extent of Plaintiff’s requested preliminary injunction
                    13 and in light of the heightened scrutiny to the same, Sheriff Bianco will suffer
                    14 irreparable prejudice if not afforded the opportunity to fully oppose Plaintiff’s
                    15 Motion, especially as, in evaluating a motion for preliminary injunction, the Court is
                    16 permitted to consider the parties’ pleadings, declarations, affidavits, and exhibits
                    17 submitted in support of and in opposition to the motion. See Republic of the
                    18 Philippines v. Marcos, 862 F.2d 1355, 1363 (9th Cir. 1988). Thus, Sheriff Bianco
                    19 (and any other Defendant) should be afforded the opportunity to present their
                    20 Opposition to Plaintiff’s Motion so that the Court can fully and appropriately assess
                    21 the merits of Plaintiff’s Motion.
                    22            C.    Plaintiff Will Not Be Prejudiced By Such Continuance.
                    23            “Although the existence or degree of prejudice to the party opposing the
                    24 modification might supply additional reasons to deny a motion, the focus of the
                    25 inquiry is upon the moving party’s reasons for seeking modification.” Johnson, 975
                    26 F.2d at 609.
                    27            As discussed above, Sheriff Bianco’s reasons for seeking a continuance in this

LEWIS               28 matter is so that he can ensure that he can file a meaningful and appropriate
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                     1 Opposition to Plaintiff’s Motion. The requested continuance is short – four (4) weeks
                     2 – to allow for Sheriff Bianco to further assess Plaintiff’s allegations and Plaintiff’s
                     3 broad-sweeping request for preliminary injunction in this matter. While Plaintiff may
                     4 not appreciate what he considers “further delay,” Plaintiff’s lawsuit has been pending
                     5 for approximately one (1) month and an additional month will not cause irreparable
                     6 harm to Plaintiff (in contrast to the irreparable harm to Sheriff Bianco if the
                     7 continuance is not granted).
                     8 4.         CONCLUSION
                     9            For the foregoing reasons, Sheriff Bianco respectfully requests that this Court
                    10 grant this ex parte application and issue an Order:
                    11            (1)   Continuing the hearing on Plaintiff’s Motion for Preliminary Injunction
                    12                  from April 2, 2025 to April 30, 2025;
                    13            (2)   Continuing the deadline for defendants’ opposition to Plaintiff’s Motion
                    14                  for Preliminary Injunction to April 9, 2025;
                    15            (3)   Continue the deadline for Plaintiff’s reply, if any, in support of Plaintiff’s
                    16                  Motion for Preliminary Injunction to April 16, 2025.
                    17
                    18 DATED: February 6, 2025                   LEWIS BRISBOIS BISGAARD & SMITH LLP
                    19
                    20
                                                                 By:          /s/ Abigail J.R. McLaughlin
                    21
                                                                           TONY M. SAIN
                    22                                                     ABIGAIL J. R. McLAUGHLIN
                    23                                                 Attorneys for Defendant,
                                                                       CHAD BIANCO, in his Official Capacity
                    24                                                 as the Riverside County Sheriff
                    25
                    26
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                     1                        FEDERAL COURT PROOF OF SERVICE
                                                     Vallejos v. Bonta, et al.
                     2                                  5:25-CV-00350
                     3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                     4        At the time of service, I was over 18 years of age and not a party to the action.
                       My business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071. I
                     5 am employed in the office of a member of the bar of this Court at whose direction
                       the service was made.
                     6
                              On March 11, 2025, I served the following document(s): DEFENDANT
                     7 SHERIFF CHAD BIANCO’S EX PARTE APPLICATION TO CONTINUE
                       HEARING ON PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                     8 FROM APRIL 2, 2025 TO APRIL 30, 2025 AND RELATED DEADLINES DUE
                       TO LACK OF NOTICE; DECLARATION OF ABIGAIL J.R. McLAUGHLIN IN
                     9 SUPPORT THEREOF AND EXHIBITS
                    10         I served the documents on the following persons at the following addresses
                         (including fax numbers and e-mail addresses, if applicable):
                    11
                       David Phillip Vallejos
                    12 Pro Se Plaintiff
                       4994 Shadydale Lane
                    13 Corona, CA 92878
                       Tel: (714) 609-9982
                    14 soundinstaller441@gmail.com
                    15            The documents were served by the following means:
                    16           (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order
                                  or an agreement of the parties to accept service by e-mail or electronic
                    17            transmission, I caused the documents to be sent to the persons at the e-mail
                                  addresses listed above. I did not receive, within a reasonable time after the
                    18            transmission, any electronic message or other indication that the transmission
                                  was unsuccessful.
                    19
                                 (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                    20            filed the documents with the Clerk of the Court using the CM/ECF system,
                                  which sent notification of that filing to the persons listed above.
                    21
                            I declare under penalty of perjury under the laws of the United States of
                    22 America and the State of California that the foregoing is true and correct.
                    23            Executed on March 11, 2025, at Los Angeles, California.
                    24
                    25                                                     /s/ Abigail J. R. McLaughlin
                                                                      Abigail J. R. McLaughlin
                    26
                    27

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